Case: 1:19-cv-01610 Document #: 276-5 Filed: 11/16/21 Page 1 of 6 PageID #:5342




                        EXHIBIT 4
 Case: 1:19-cv-01610 Document #: 276-5 Filed: 11/16/21 Page 2 of 6 PageID #:5343


From:             Robert A. Braun
To:               Bierig, Jack R.; Wahl, Suzanne L.
Subject:          [EXT] RE: Realtors: Following Up
Date:             Wednesday, October 6, 2021 5:29:35 PM
Attachments:      mg_info.txt


Jack,

We respectfully disagree with your characterization of the Moehrl Plaintiffs’ discovery negotiations
with NAR. As you know, at NAR’s request, the Moehrl case was stayed at the time that NAR
negotiated its productions for the Sitzer case. Moehrl counsel were permitted to attend the
negotiations related to the Sitzer case productions and to receive those productions to the extent
the documents at issue were not exclusively related to the MLSs at issue in Sitzer. Because our case
was stayed, however, the Moehrl plaintiffs had no mechanism prior to NAR’s production of
documents in Sitzer for enforcing the Moehrl document requests in instances where: (i) we served
requests for documents not reflected in requests served by the Sitzer plaintiffs; and/or (ii) the
parties did not reach an agreement on the scope of NAR’s productions but the Sitzer plaintiffs did
not move to compel.

With respect to our request that NAR produce meeting minutes and reports from the Strategic
Thinking Advisory Committee, the Large Firms Directors Forum, and the Real Estate Services (RES)
Advisory Group (and the predecessors and successors of each), we are confused by your reference
to the search terms that NAR applied for searching emails. We understand that NAR meeting
minutes and committee reports are typically maintained in NAR’s central files and would not be
collected by using of search terms. For that reason, we do not understand the relevance of NAR’s
arguments regarding agreements on or burden of applying search terms and custodians. Nor does
the collection of meeting minutes and reports limited to three NAR committees appear to impose
any undue burden on NAR.

With respect to our request for agreements pertaining to Realtor.com or Upstream (and related
documents), we again expect that many (though not all) responsive documents are located in NAR’s
central files or in non-email custodial files that are susceptible to searches without the application of
search terms. Moreover, as I previously indicated, we are concerned that in connection with its “go
get” productions, NAR failed to search agreements pertaining to Realtor.com or Upstream (and
related documents) in order to ascertain whether they were responsive even to document requests
for which NAR agreed to produce documents for purposes of its Sitzer productions (e.g., RFP 10(a),
10(b), 10(k), 21, 25). Please confirm what efforts NAR undertook to search its central files and non-
email custodial files in order to determine the responsiveness of agreements pertaining to
Realtor.com or Upstream (and related documents).

Finally, we recently learned that since the time NAR collected documents in connection with its
Sitzer document productions, NAR has considered and/or proposed repealing, modifying, or
adopting several rules that are directly relevant to our case. See, e.g.,
https://cdn.nar.realtor/sites/default/files/documents/MLS-AB-List-of-Recommendations-Sept-
21.pdf. Given these events, we are troubled by the fact that NAR has apparently not complied with
its obligations under Federal Rule of Civil Procedure 26(e) to supplement its productions in a timely
Case: 1:19-cv-01610 Document #: 276-5 Filed: 11/16/21 Page 3 of 6 PageID #:5344


manner. Please produce these documents as soon as possible.

Thank you for your invitation to discuss these issues further. What is your availability over the next
several days for a call?

Best,
Robby

From: Bierig, Jack R. <JBierig@schiffhardin.com>
Sent: Friday, October 1, 2021 6:28 PM
To: Robert A. Braun <RBraun@cohenmilstein.com>; Wahl, Suzanne L. <SWahl@schiffhardin.com>
Subject: [EXTERNAL] RE: Realtors: Following Up

Robby,

Thanks for your note regarding joint depositions of NAR deponents in Moehrl and Sitzer and
various discovery issues. NAR appreciates your willingness to treat the NAR deposition as
joint – subject to the possibility of reopening them as I represented to Judge Wood at the
most recent status conference. However, in connection with that representation to the
Court, I would note the following:

As stated in my September 17 email and as discussed on our September 20 phone call, the
idea of substantially reopening document discovery at this point in the case, as you have
sought to do by your invocation of REP 33, is not appropriate. NAR served its objections and
responses to plaintiffs’ Requests for Production on February 10, 2020. In an effort to reach
a compromise, we spent several months negotiating custodians and search terms. On May
1, 2020, plaintiffs’ counsel and NAR agreed on search terms. NAR completed its production
of documents on December 18, 2020.

Turning to some of your specific requests, we agreed, in May of 2020, on search terms with
respect to the Strategic Thinking Advisory Committee and the Large Firms Directors Forum.
Those terms were designed to find documents related to those groups that are actually
relevant to the litigation (e.g., (commission* or compensation*) and "strategic thinking";
(commission* or compensation*) and large firm*). The parties also agreed on terms related
to the DANGER Report ((Danger or d.a.n.g.e.r. or "definitive analysis of negative") w/5
(report or study or *paper or summar* or ppt* or powerpoint* or slide* or deck* or
present* or meeting* or interview* or call* or note* or research*)). To the extent that they
exist, responsive documents that hit for those search terms have already been produced to
you and have been in your possession for at least 9 months. We will not agree to reopen
those negotiations now – nearly 18 months after we had agreed on search terms and
custodians for compliance with plaintiffs’ RFP to NAR.

With respect to the Real Estate Services (RES) Advisory Group, Realtor.com, or Project
Upstream, the time to negotiate search terms or documents related to these entities or
projects was well over a year ago. Additionally, you continue to request “all
Communications, reports, studies, or strategy documents” related to Realtor.com and
Project Upstream. To the extent that such documents exist but have not been identified and
produced, identifying them would require re-establishing NAR’s archived document
collection database. This would impose a significant cost even as an initial step – to say
nothing of the cost of document review and production. This would be unduly burdensome –
particularly given that these issues were negotiated more than a year ago.

As I said at the outset of this note, NAR appreciates your agreement to move ahead with
Case: 1:19-cv-01610 Document #: 276-5 Filed: 11/16/21 Page 4 of 6 PageID #:5345


the NAR deponents jointly with the Sitzer plaintiffs. However, while we will work with you if
you later receive new information that you reasonably believe requires a follow-up
deposition, we do not consider any of the information or documents discussed above to
constitute new information. As you point out, the documents raised in your email were
covered by your January 10, 2020 Requests for Production that were previously the subject
of negotiations and agreement – and that were resolved by compromise more than a year
ago.

Finally, as I previously represented, NAR is willing to produce the Little Report. As we have
previously offered, moreover, if there are a very limited number of specific, non-privileged
documents that plaintiffs want, e.g. a specifically identified report or NAR statement, we
would be willing to discuss production of those specific documents. To minimize costs, we
would like to discuss any additional specific documents promptly so that we can make one
additional production that would include the Little Report.

Suzanne and I would be pleased to discuss these issues further with you after you have
discussed them with counsel for the Sitzer plaintiffs and with your co-counsel. We look
forward to hearing from you.

Thanks,

Jack


Jack R. Bierig | Schiff Hardin LLP
312.258.5511
jbierig@schiffhardin.com




From: Robert A. Braun [mailto:RBraun@cohenmilstein.com]
Sent: Tuesday, September 28, 2021 9:39 PM
To: Bierig, Jack R. <JBierig@schiffhardin.com>; Wahl, Suzanne L. <SWahl@schiffhardin.com>
Subject: [EXT] Realtors: Following Up

Jack and Suzanne,

I’m following up on a couple of issues that we discussed last week:

   1. In the interests of cooperating with and reducing the burden on NAR and its current
      employees, the Moehrl Plaintiffs intend to depose Kevin Milligan, Dale Stinton, Bob Goldberg,
      Cliff Niersbach, and Rodney Gansho on the dates previously noticed by the plaintiffs in the
      Sitzer action. We are participating in these depositions based on the understanding that,
      consistent with Mr. Bierig’s recent representations to the Court, “[if] there is some
      information that is provided to plaintiffs after these depositions . . . and Mr. Braun or his
      colleagues would like to have a follow-up deposition limited to certain things that have
      emerged that they didn't know at the time of the depositions, we will certainly work with Mr.
      Braun and his colleagues to try to accommodate them.” Sept. 22, 2021 Hr’g Tr. 31:5-12.

   2. On September 16, 2021, we requested that NAR produce: (i) the “2005 scenario project,” also
      sometime referred to as the “the Little Report” and (ii) all documents (including agreements)
      responsive to RFP No. 33 (or to confirm that all such documents have been produced).
 Case: 1:19-cv-01610 Document #: 276-5 Filed: 11/16/21 Page 5 of 6 PageID #:5346


          a. On our 9/20 call, you indicated that NAR would likely be willing to produce the “2005
             scenario project,” and, during the 9/22 status conference, you confirmed to the Court
             that NAR would produce this document. Sept. 22, 2021 Hr’g Tr. 15:21-22. Please
             advise when NAR intends to produce the “2005 scenario project.”


          b. During our 9/20 conversation, you objected on burden grounds to producing all
             documents responsive to Request No. 33, but indicated that NAR would be willing to
             consider a narrowed version of this Request. As a compromise, Plaintiffs request that
             NAR produce: All agreements made since January 1, 2014 relating to Realtor.com or
             Upstream, and all Communications, reports, studies, or strategy documents relating to
             those agreements. This compromise proposal significantly narrows both the time
             period and substantive scope of our request.

               We further observe that the requested agreements and other responsive documents
               should independently been produced in response to our other document requests
               to the extent that they touch upon inter alia: the use of NAR’s trade names or
               trademarks (RFP 3); restricting display or publication to consumers of compensation
               offered by listing brokers to cooperating brokers (RFP 10(a)); requiring listing brokers
               to make an offer of compensation to buyer brokers (RFP 10(b)); restricting, limiting,
               or prohibiting the copyrighting, distribution, sale, resale or syndication of MLS data
               (RFP 10(k)); the Challenged Restraints or the amount or type of compensation
               Brokers seek or obtain for providing real estate services (RFP 21); the role of MLSs in
               the market for Real Estate Services and any actual or potential competitors of or
               alternatives to MLSs (RFP 25). Please confirm that NAR collected and reviewed these
               documents (including from central files) in order to assess their responsiveness to
               these document requests.

   3. Please produce meeting minutes for and any reports produced by the NAR’s Strategic
      Thinking Advisory Committee (and its predecessor the Strategic Planning Committee), the
      Large Firms Directors Forum (and any predecessors), and the Real Estate Services (RES)
      Advisory Group (and any predecessors). These are responsive to Requests 6, 19, 25, 34, and
      39. The Strategic Thinking Advisory Committee’s self-described mission is to “[t]o identify and
      gather data that may affect the future of the National Association of REALTORS®, and to
      monitor and research threats, opportunities, key trends and issues, particularly from the fields
      that may impact the industry, our members, the Association, and the real estate consumer.”
      For example, consistent with its mission, the Strategic Thinking Advisory Committee
      commissioned the DANGER Report, which addresses numerous issues that are relevant to the
      litigation, including real estate commissions and competition with MLSs. The Large Firms
      Directors Forum (and any predecessors), and the Real Estate Services (RES) Advisory Group
      are likewise relevant because they were vehicles for the Corporate Defendants to influence
      NAR policy and meet with senior NAR officials. Collecting and producing these meeting
      minutes and reports from NAR’s central files should not be unduly burdensome.


Best,
Robby

Robert A. Braun              Cohen Milstein Sellers & Toll PLLC
Partner                      1100 New York Ave. NW | Fifth Floor
                             Washington, DC 20005
                             phone 202.408.4600
                             fax 202.408.4699
                             website | map

                             Powerful Advocates. Meaningful Results.
 Case: 1:19-cv-01610 Document #: 276-5 Filed: 11/16/21 Page 6 of 6 PageID #:5347



This e-mail was sent from Cohen Milstein Sellers & Toll PLLC. It may contain information that is privileged and confidential. If you suspect
that you were not intended to receive it, please delete it and notify us as soon as possible.




-------------------------------------------------------------------
This message and any attachments may contain confidential
information protected by the attorney-client or other privilege.
If you believe that it has been sent to you in error,
please reply to the sender that you received the message in
error. Then delete it. Thank you.
-------------------------------------------------------------------
